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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
ALTRIA GROUP, INC.,
Plaintiff,
v. Civil Action No. 3:19-cv-910
UNITED STATES OF AMERICA,
Defendant.
MEMORANDUM OPINION

This matter is before the Court for resolution on the
merits based on the stipulated factual record. See ORDER, ECF
No. 23; see also JOINT STATUS REP., ECF No. 22.

The issue here presented is whether 26 U.S.C. § 162(f£)
foreclosed Altria Group, Inc. (“Altria”) from claiming as an
ordinary and necessary business expense deduction on its 2012
federal income tax return, the portion of a punitive damage
award that was paid to the State of Oregon pursuant to Oregon’s
so-called “split recovery statute” (Or. Rev. Stat. § 31.735).
The resolution of that issue turns on whether the portion of a
punitive damage award that was paid to Oregon under that state
statute “constituted ‘any fine or similar penalty paid to a
government for the violation of any law.’” JOINT STATUS REP. 2,
ECF No. 22 (quoting 26 U.S.C. § 162(f) (2012)). The issue was
fully briefed, and the parties agreed to submit the case for

decision on the basis of the briefing and the stipulated record.
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Thereafter, the Court asked for oral argument (ECF No. 37), and,
on December 16, 2021, the parties presented arguments and visual
presentations in aid thereof. Based on the stipulated record,
the briefs, the oral arguments, and the related visual
presentations, the Court finds that the payment made to Oregon
by Altria pursuant to Oregon’s split recovery statute is a
deductible business expenses within the meaning of Section
162(f).
BACKGROUND

To understand the issue under the federal tax law here in
dispute, Section 162(f), it is necessary briefly to outline: (a)
the case that gave rise to the punitive damage award (Williams
v. Philip Morris Inc.);! and (b) the Oregon split recovery
statute under which Oregon took a part of that award. It is also
necessary to understand (c) a related case brought by the State

of Oregon (State v. Philip Morris) and (d) its aftermath as to

 

both Philip Morris and the Williams Estate.? Lastly, and before

 

1 Philip Morris USA, Inc. (“Philip Morris”) is a subsidiary of
Altria. JOINT STATEMENT OF UNDISPUTED FACTS § 7, ECF No. 24.
Altria’s principal place of business is Richmond, Virginia. Id.

q 6.

2 Williams v. RJ Reynolds Tobacco Co., 271 P.3d 103 (Or. 2011)
provides the detailed procedural history regarding Williams v.
Philip Morris Inc., and State v. Philip Morris. The Oregon
Supreme Court eventually consolidated the two cases discussed
below, Williams v. Philip Morris Inc. and State _ vv. Philip
Morris, “to decide the legal questions surrounding entitlement
to the punitive damages award . . . whether by signing the MSA,

 

 
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discussing the resolution of the issues presented for decision,
it is important to understand: (e) the federal tax statutes at
issue; (£) Altria’s 2012 tax return; and (g) Oregon’s
substantive punitive damage statutes. Each will be discussed
briefly before turning to the tax issue.
A. Williams v. Philip Morris Inc.

In 1997, the estate of Jesse Williams sued Philip Morris
alleging that Williams’ death from lung cancer was the result of
negligence and fraud on the part of Philip Morris. Williams v.

Philip Morris Inc., 127 P.3d 1165, 1167-68 (Or. 2006). Williams’

 

Estate prevailed on its misrepresentation claim on which the
jury awarded economic damages ($21,485.80), non-economic damages
($800,000.00), and punitive damages ($79,500,000.00). Id. at
1171. Williams’ Estate also prevailed on its negligence claim on
which the jury awarded the same sums for economic and non-
economic damages and found that Williams and Philip Morris were
equally negligent. The jury awarded no punitive damages on the
negligence claim. Id.

Philip Morris appealed the jury verdict, including the
award of punitive damages. The punitive damages award was

vacated as a result of the decision of the Supreme Court of the

 

the state released its allocated share in the Williams punitive
damages award and, if so, what should happen to that money.”
Williams v. RJ Reynolds Tobacco Co., 271 P.3d 103, 106 (Or.
2011).

 
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United States in Philip Morris USA v. Williams, 549 U.S. 346

 

(2007). On remand, the Oregon Supreme Court affirmed the

punitive award for other reasons. Williams v. Philip Morris

 

Inc., 176 P.3d 1255 (Or. 2008), cert. dismissed as improvidently

granted. 556 U.S. 178 (2009).

B. Oregon’s Split Recovery Statute (Or. Rev. Stat. § 31.735)?

Part of the punitive damage award in Williams v. Philip

 

Morris Inc. was paid to Oregon pursuant to the State’s split
recovery statute, so it is appropriate to pause here to
understand the nature of a split recovery statute generally, and
to understand Oregon’s version of that legislative genre.
Generally speaking:

[s]plit recovery statutes attempt to align the
impact of punitive damages awards more closely with
their purposes, by eliminating a perceived windfall
aspect while maintaining the deterrence effect.
These two objectives are met through redistribution
of the award-instead of the plaintiff receiving all
of it, a portion goes to the State.

 

KKK

In general split recovery statutes provide that,
after punitive damages are awarded to a plaintiff, a
portion of the punitive award is turned over to the
State. . . . All told one quarter of U.S. States
have experimented? [with the concept].

 

3 In 1997, when the Williams complaint was filed, the statute was
Or. Rev. Stat. § 18.540, but, in 2003, it was renumbered as Or.
Rev. Stat. § 31.735. And, that designation is used in all
pertinent briefing and decisions.

4 As of 2011, some states had repealed such statutes. And, after
the decision in Philip Morris USA v. Williams, 549 U.S. 346

 

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Split Recovery Statutes, The Sedona Conference 1 (2011)

 

https: //thesedonaconference.org/sites/default/files/commentary_d
rafts/DistributionSp1it%2520Recovery%2520Statutes. pdf (emphasis
added) .

Not all such statutes operate in the same way. The
pertinent part of Oregon's version is as follows:

(1) Upon the entry of a verdict including an award
of punitive damages, the Department of Justice shall
become a judgment creditor as to the punitive
damages portion of the award to which the Criminal
Injuries Compensation Account is entitled pursuant
to paragraph (b) of this subsection, and _ the
punitive damage portion of an award shall be
allocated as follows:

 

 

 

(a) Forty percent shall be paid to the prevailing
party.

KKK

(b) Sixty percent shall be paid to the Criminal
Injuries Compensation Account of the Department
of Justice Crime Victims’ Assistance Section to
be used for the purposes set forth in ORS

chapter 147.

 

 

KKK

(3) Upon the entry of a verdict including an award
of punitive damages, the prevailing party shall
provide notice of the verdict to the Department of
Justice.

 

Or. Rev. Stat. § 31.735 (2005) (emphasis added) .5

 

(2007), there is a question as to the continued viability of
split recovery statutes. Split Recovery Statutes at 8.

5 The current version allocates the award in a slightly different
way by allowing the prevailing party to retain only 30 percent
of the award, giving 60 percent to the Attorney General for

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The general, purpose of Or. Rev. Stat. ch. 147 (identified
in subsection (1)(a) cited above) is, as its title states, to
help “Victims of Crime and Mass Destruction.” That purpose is
accomplished by funding provided by the State and by taking
funds from perpetrators of crimes and from punitive damage
awards made in the state courts and depositing them in the
Criminal Injuries Compensation Account. That account provides
money, medical treatment, counseling, and a host of other
services required to help victims of crime deal with or recover

from the crimes of which they are victims.

Cc. State v. Philip Morris (“State’s Case”)

 

Also, in 1997, Oregon sued several United States cigarette
manufacturers, including Philip Morris, alleging, inter alia,
unfair trade practices and violations of Oregon's Racketeer
Influenced and Corrupt Organizations Act (“RICO”) statute. State

v. Am. Tobacco Co., Inc., et al., No. 9706-04457 (Or. 1997),

 

(but the case is generally known as State v. Philip Morris)®.

 

There, Oregon claimed that “it had incurred hundreds of millions

of dollars in increased Medicaid expenses for medical care for

 

deposit in the Criminal Injuries Compensation Account, and
giving 10 percent to the Attorney General for deposit in the
State Court Facilities and Security Account.

6 The citation of that case is as set out above, but because of
the way the trial court maintained the records, the case is
actually known as State v. Philip Morris. See Williams v. RJ
Reynolds Tobacco Co., 271 P.3d at 105, n.3.

 

 

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low-income Oregon residents and increased health insurance
premiums for public employees as a result of the tobacco

companies’ unlawful conduct.” Williams v. RJ Reynolds Tobacco

 

Co., 271 P.3d at 105-06.

In 1998, Oregon settled its claims in the State’s Case as
part of a multi-state Master Settlement Agreement (“MSA”)
between 46 states and several tobacco companies including Philip
Morris. Id. at 106. As part of the MSA, the settling states
“agreed to release the tobacco companies from past and future
claims relating to the manufacturing of, sale of, and exposure
to tobacco products, as well as claims relating to research
statements or warnings regarding tobacco products.” Id.
(footnote omitted). The MSA was signed in November 1998. Id.

In April 1999, and as a result of the MSA, Philip Morris
sent a letter to the Oregon Attorney General stating that,

notwithstanding Oregon’s split recovery statute, no portion of

the punitive damage award from Williams v. Philip Morris Inc.

 

was due to Oregon. Williams v. RU Reynolds Tobacco Co., 271 P.3d

 

at 106. That, according to Philip Morris, was because, when
Oregon executed the MSA, Oregon had released its claim under the
split recovery statute to the 60 percent of the punitive damages

in Williams v. Philip Morris Inc. Id. Oregon then moved in State

 

v. Philip Morris for declaratory relief respecting whether,

 

under the split recovery statute, the State was entitled to part
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of the punitive damages under the split recovery statute made in

Williams v. Philip Morris Inc., notwithstanding the release in

 

the MSA. See Williams v. RJ Reynolds Tobacco Co., 271 P.3d 103,

 

106-07 (Or. 2011).
The trial court stayed further proceedings in Williams v.

Philip Morris Inc. while Philip Morris’ appeal was pending. Id.

 

Once the Williams v. Philip Morris Inc. award was affirmed, the

 

trial court lifted the stay, consolidated Williams v. Philip

 

Morris Inc. and State v. Philip Morris, and recommenced

 

proceedings on Oregon’s declaratory judgment action. Williams v.

RJ Reynolds Tobacco Co., 271 P.3d at 106. The trial court

 

ultimately ruled in favor of Philip Morris, holding that, by
virtue of the MSA, Oregon had released any right to be paid
under the split recovery statute Id.

Oregon then appealed directly to the Oregon Supreme Court,
id. at 108, which reversed the trial court, finding that the
“MSA's definitions of ‘Claims’ or ‘Released Claims’” did not
“encompass the State’s interest in an allocation of the Williams
punitive damages award.” Id. at 109-13. Therefore, by virtue of
the split recovery statute, Oregon was in fact due a portion of

the punitive damage award in Williams v. Philip Morris Inc. Id.

 

at 113.
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D. The Agreement Between the Williams Estate and Oregon

During the appeals process stemming from Williams v. Philip
Morris Inc., Oregon and the Williams Estate entered into an
agreement, in 2004, that was intended to ensure that Philip
Morris was required to pay the entire amount of the punitive

damages awarded in Williams v. Philip Morris Inc. if that award

 

ultimately was affirmed. That agreement provided a sharing of
the punitive damages award that differed from the sharing
provision of the split recovery statute. In part, the agreement
between Oregon and the Williams Estate provides:

Any amount recovered by the State of Oregon or by
the Williams Estate or both in State of Oregon v.
Philip Morris, whether by litigation to final
judgment, by settlement, or by any other means,
shall be paid 55% to the State of Oregon and 45% to
the Williams Estate and its attorneys. In the event
that Philip Morris pays 100% of the final appellate
judgment in Williams v. Philip Morris, the State of
Oregon would receive 33.33% of the total punitive
damages recovered, and the Williams Estate and its
attorneys would receive 66.67% of the total punitive
damages recovered.

 

 

 

 

 

Williams v. RJ Reynolds Tobacco Co., 271 P.3d at 107, n. 7

 

(emphasis added). The result of the underscored text, of course,
was to change the amount of the punitive damage award that would
go to Oregon under the split recovery statute. (Oregon would
receive 33.33 percent; the Williams Estate would receive 66.67
percent if Philip Morris paid 100 percent of final judgment).

See JOINT STATEMENT OF UNDISPUTED FACTS { 22, ECF No. 24.
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After the punitive damages award was affirmed on appeal in
2009, Philip Morris paid the Williams Estate more than $61
million in full satisfaction of the award of economic and
noneconomic damages, and in full satisfaction of the estate’s
interest in the punitive damages award, plus costs and interest

on those awards. See Williams v. RJ Reynolds Tobacco Co., 271

 

P.3d at 106. Following the decision of the Oregon Supreme Court

in Williams v. RJ Reynolds Tobacco Co., “Philip Morris paid

 

Oregon $102,192,247.26. Of this amount, $47,700,000 was punitive
damages and the remainder was interest.” JOINT STATEMENT OF
UNDISPUTED FACTS § 16, ECF No. 24. Based on the split recovery
statute and the 2004 agreement between the Williams Estate and
Oregon, Oregon retained $26,497,350 of the $47,700,000 in

punitive damages paid to the State under Williams v. Philip

 

Morris Inc. Oregon then dispersed additional funds to the
William Estate based on the 2004 agreement between the State and
the Williams Estate under which Oregon was to receive 33.33
percent of the total punitive damages rather than the statutory
60 percent. Id. § 24.
E. The Federal Tax Statute at Issue: Section 162(f)

That brings the analysis to the tax statutes. Section
162(a) of the Internal Revenue Code allows the deduction of “all
ordinary and necessary expenses paid or incurred during the

taxable year in carrying on any trade or business.” 26 U.S.C. §

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162(a). Section 162(f), however, limits Section 162(a). In 2012
(i.e., the year in which Altria filed the relevant tax return),
Section 162(f£) stated, in relevant part:

No deduction shall be allowed under subsection (a)

for any fine or similar penalty paid to a government
for the violation of any law.

 

 

26 U.S.C. § 162(£) (2012) (emphasis added).

Treasury regulations from that point in time defined “fine
or similar penalty” as an amount “(ii) paid as a civil penalty
imposed by Federal, State, or local law... [or] (iii) Paid in

settlement of the taxpayer’s actual or potential liability for a

fine or penalty (civil or criminal).” Treas. Reg. § 1.162-
21(b) (1) (ii), (iii) (1979).7 These regulations also stated:
“Compensatory damages . . . paid to a government do not

constitute a fine or penalty.” Id. § 1.162-21(b) (2).
F. The 2012 Tax Return
Following the decision of the Oregon Supreme Court in

Williams v. RJ Reynolds Tobacco Co., Altria filed its 2012 tax

 

return deducting, under Section 162(a), the entire portion of
the punitive damage payment that went to the Williams Estate and

the part of the punitive damage award, including interest (i.e.,

 

7 Subsection (i) is not relevant here. It included payments in
criminal cases.

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$102,192,247.26), that went to Oregon under the split recovery
statute. JOINT STATEMENT OF UNDISPUTED FACTS 44 2, 18, ECF No.
24.

The Internal Revenue Service (“IRS”) allowed the deduction
for the part of the punitive damage award that Philip Morris
paid to the Williams Estate. However, the IRS disallowed the
deduction for the portion of the punitive damages award that was
retained by Oregon, $26,497,350, pursuant to its 2004 agreement
with the Williams Estate and the split recovery statute. The
disallowance was made by invoking Section 162(f) and asserting
that the payment made by Altria to Oregon was a fine or similar
penalty paid to a government for the violation of a law. Id.
18; see also 26 U.S.C. § 162(f£) (2012).

Altria then paid the tax and interest that resulted from
the IRS adjustments. JOINT STATEMENT OF UNDISPUTED FACTS 3,
ECF No. 24. The tax due on the disallowed part of Altria’s claim
was $9,974,072.8

In September 2018, Altria timely filed a Form 1120X Amended
U.S. Corporation Income Tax Return claiming a refund of
$9,974,072. Id. § 4; see also JOINT STATEMENT OF UNDISPUTED
FACTS, Ex. JX-1, ECF No. 24-1. According to Altria, the IRS

erroneously treated the portion of the punitive damage award

 

§ That number is the tax plus interest due as a result of the IRS
adjustments. See PL. ALTRIA GROUP, INC.’S TRIAL BR. 10, ECF No.
25.

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retained by Oregon (i.e., $26,497,350) as a fine or similar
penalty pursuant to Section 162(f). PL. ALTRIA GROUP, INC.’S
TRIAL BR. 9, ECF No. 25.

In June 2019, the IRS notified Altria that Altria’s refund
request was disallowed in full. Id. 9 5; Ex. JX-2, ECF No. 24-2.
Subsequently, Altria filed this action seeking (1) the recovery
of $9,274,072 in federal income taxes paid by Altria in the 2012
tax year plus any interest allowed by law; (2) an award for the
costs of this action; and (3) any other relief that this Court

deems appropriate.

G. Oregon’s Punitive Damages Statutes

Because Section 162(f) uses the term “fine or similar
penalty” and “for violation of any law” and because the focus of
the tax issue here is a punitive damage award, it is helpful to
understand Oregon’s statutes that govern the award of punitive
damages.

That entails reference to three statutes. JOINT STATUS REP.
2, ECF No. 22. The first addresses the standard for recovery of
an award of punitive damages [Or. Rev. Stat. § 31.730]. The
second addresses factors to consider in the award of punitive
damages [Or. Rev. Stat. § 30.925]. The third, the “split
recovery statute,” which already has been discussed briefly,
governs the allocation of punitive damages awards [Or. Rev.
Stat. § 31.735].

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The other two statutes are pertinent because they set the
framework for deciding whether a punitive award can be made. The
substantive punitive damage statute defining when punitive
damages may be awarded is Or. Rev. Stat. § 31.730(1), which
provides:

Punitive damages are not recoverable in a civil
action unless it is proven by clear and convincing
evidence that the party against whom punitive
damages are sought has acted with malice or has
shown a reckless and outrageous indifference to a
highly unreasonable risk of harm and has acted with
a conscious indifference to the health, safety and
welfare of others.

 

 

 

 

 

Or. Rev. Stat. § 31.730.?

The statute that provides detailed guidance to the jury
when assessing a request for punitive damages is Or. Rev. Stat.
§ 30.925, which provides seven factors for consideration:

(2) Punitive damages, if any, shall be determined
and awarded based upon the following criteria: (a)
The likelihood at the time that serious harm would
arise from the defendant’s misconduct; (b) The degree
of the defendant’s awareness of that likelihood; (c)
The profitability of the defendant’s misconduct; (d)
The duration of the misconduct and any concealment
of it;(e) The attitude and conduct of the defendant
upon discovery of the misconduct; (f) The financial
condition of the defendant; and (g) The total
deterrent effect of other punishment imposed upon
the defendant as a result of the misconduct,
including, but not limited to, punitive damage
awards to persons in situations similar to the

 

 

9 Subsection (2) and (3) are not relevant here.

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claimant’s and the severity of criminal penalties to
which the defendant has been or may be subjected.1°

Or. Rev. Stat. § 30.925 (emphasis added).

It is in perspective of the foregoing factual, procedural,
and statutory background that the tax issue in this case must be
decided.

DISCUSSION
Whether taxpayers are entitled to a deduction is a question

of law. See Hackworth v. Comm’r, 155 F. App’x 627, 629 (4th Cir.

 

2005) (citing Metzger v. Comm’r, 38 F.3d 118, 120 (4th Cir.
1994)). The burden rests on the taxpayer to demonstrate “the

right to the claimed deduction[.]” Interstate Transit Lines v.

 

Comm’r, 319 U.S. 590, 593 (1943); Belk v. Comm’r, 774 F.3d 221,

225 (4th Cir. 2014); Compton v. United States, 334 F.2d 212, 216

 

(4th Cir. 1964); Trigon Ins. Co. v. United States, 234 F. Supp.

 

2d 581, 586 (E.D. Va. 2002) {In a refund suit, “the taxpayer
bears the burden of proving either ‘that no tax at all is owed
or that the amount of tax owed is in a lesser amount than that
determined by the IRS.’”) (internal citation omitted).
Furthermore, the taxpayer “must establish the exact amount which

she is entitled to recover.” Trigon Ins. Co., 234 F. Supp. at

 

10 Subsection (g) of Or. Rev. Stat. § 30.925 was the focal point
of the appeal to the Supreme Court of the United States in
Philip Morris USA v. Williams, 549 U.S. 346 (2007). But the
Supreme Court’s decision focusing on subsection (g) and the
decision of the Oregon Supreme Court on remand are not
implicated in the tax issue presented in this case.

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586. “Deductions are strictly construed and allowed only ‘as

there is a clear provision therefor.’” INDOPCO, Inc. v. Comm’r,

 

503 U.S. 79, 84 (1992).

The parties stipulate that an Oregon jury concluded that
Philip Morris engaged in conduct that, under Or. Rev. Stat. §
31.730, Oregon’s punitive damages statute, permitted the jury to
award punitive damages. JOINT STATEMENT OF UNDISPUTED FACTS {f
10, 26, ECF No. 24. It is undisputed that: Oregon was not a
party to the litigation, and that the payment that ultimately
went to Oregon under its settlement with the Williams Estate was
paid to Oregon because of the split recovery statute. Id. 44 20-
22.

Altria argues that its liability to pay the government
arose from Oregon’s split recovery statute which rendered
“Oregon a judgment creditor with respect to the jury’s award of
punitive damages in the Williams Estate litigation.” PL. ALTRIA
GROUP, INC.’S TRIAL BR. 8, ECF No. 25. In Altria’s view, the
split recovery statute simply redirects a portion of the
punitive damages payment to Oregon and does not impose any
liability on Altria for its conduct. Therefore, says Altria, its
payment to Oregon was not a “fine or similar penalty” paid toa
government “for the violation of any law.”

The United States takes the view that Section 162(f) bars

Altria’s refund claim because the punitive damages awarded

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against Altria acted as a punishment and resulted in a payment
“to a government”, and that Altria’s misrepresentation#?
constituted a “violation of any law.” UNITED STATES’ TRIAL BR.
8-9, ECF No. 26. The United States disagrees with Altria’s
argument that the split recovery statute serves as the origin of
Altria’s obligation to pay the government because a “fine or
similar penalty” under Section 162(f) turns on whether the award
was imposed as punishment. Further, the United States argues
that the decision of the Oregon Supreme Court in Williams v. RJ

Reynolds Tobacco Co. is neither persuasive nor controlling as to

 

the federal tax treatment of Altria’s payment of punitive
damages to Oregon. Id. at 13.

The resolution of these competing views starts with Section
162(a), which allows taxpayers to deduct all ordinary and
necessary trade or business expenses. However, the resolution
depends on Section 162(f), which provides that no deduction
shall be allowed under Section 162(a) “for any fine or similar
penalty paid to a government for the violation of any law,”
thereby limiting Section 162(a).

A. The Section 162(f) Issue
In other words, the key issue is one of statutory

interpretation. So, the analysis begins, as always, with the

 

11 The punitive damage award was made only on the
misrepresentation claim filed by the Williams Estate, not on its
negligence claim.

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statutory text of Section 162(f£) of the Internal Revenue Code.

See, e.g., POM Wonderful LLC v. Coca-Cola Co., 573 U.S. 102, 113

 

(2014) (relying on the “traditional rules of statutory
interpretation” by “beginning with the text of the two

statutes”); Kasten v. Saint-Gobain Performance Plastics Corp.,

 

563 U.S. 1, 7 (2011) (beginning the statutory interpretation
analysis by first assessing the text of the statute); Whitman v.

Am. Trucking Assocs., 531 U.S. 457, 472-73 (2001) (reviewing the

 

text of the statute at issue and contemplating the text in light
of the statutory history and context).

The dispositive part of the statutory text respecting
whether the deduction was properly disallowed is: “for any fine
or similar penalty paid to a government for the violation of any
law.” There are three parts to that text: (1) “for any fine or
similar penalty;” (2) “paid to a government;” (3) “for the
violation of any law.”

1. Paid to a Government

It is not disputed that Altria paid a part of the awarded
amount to “a government.” 26 U.S.C. § 162(f)(1). See generally
JOINT STATEMENT OF UNDISPUTED FACTS, ECF No. 24. No discussion
is required on this point.

2. For Any Fine or Similar Penalty

There seems to be no dispute that the punitive damage award

made by the jury in Williams v. Philip Morris Inc. was not a

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fine. And, although the parties agree that, in Williams v.

Philip Morris Inc., the jury awarded punitive damages within the

 

meaning of the applicable Oregon statutes, that does not
necessarily mean that the punitive damage award in Williams v.

Philip Morris Inc. is a “similar penalty,” the other term that

 

is used in Section 162(f). The statute does not define “similar
penalty,” so the text does not supply the answer. The usual
canons of statutory construction thus instruct that the Court
must look to the ordinary meaning of “similar penalty.”

(a) Ordinary Meaning

The ordinary meaning of “penalty” is “punishment.” Penalty,
Oxford English Dictionary, https://www.oed.com/view/Entry/139990
?redirectedFrom=Penalty#eid (last visited Jan. 10, 2021). It is
also defined as “a punishment imposed or incurred for violation
of law or rule.” Penalty, Dictionary.com,
https: //www.dictionary.com/browse/penalty (last visited Dec. 7,
2021). The definition of “similar” is “having significant or

notable resemblance or likeness in appearance, form, character,

 

12 26 U.S.C. § 162(f) (1); see, e.g., Bostock v. Clayton Cty., __
U.S. __, 140 S.Ct. 1731, 1750 (2020) (discussing the ordinary
meaning of the phrase “‘because of . . . age,’”); Univ. Tex.
Southwestern Med. Ctr. v. Nassar, 570 U.S. 338, 350 (2013)
(finding that the “the ordinary meaning of ‘because of’ is ‘by

 

 

 

 

reason of’ or ‘on account of.’”) (quoting Gross v. FBL Fin.
Servs., Inc., 557 U.S. 167, 176 (2009)); Nix v. Hedden, 149 U.S.
304, 306 (1893) (“There being no evidence that the words ‘fruit’

and ‘vegetables’ have acquired any special meaning in trade or
commerce, they must receive their ordinary meaning.”).

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quality, etc. to something . . . of like nature or kind.”
Similar, Oxford English Dictionary, https://www.oed.com/view/
Entry/179873?redirectedFrom=similar#eid (last visited Jan. 10,
2021). It also is defined as “having a likeness or resemblance.”
Similar, Dictionary.com, https://www.dictionary.com/browse/
Similar (last visited Dec. 7, 2021). So, in its ordinary sense,
the term “similar penalty” is a punishment that has a
significant or notable resemblance or likeness to a fine.

Because “similar penalty” relates back to the word “fine,”
it is necessary to ascertain the meaning of that term as well.
In its current usual sense, a “fine” is “[a] sum of money
exacted as a penalty for an [offense], esp. by a court of law or
other authority.” Fine, Oxford English Dictionary,
https: //www.oed.com/view/Entry/70359?rskey=3akpga&result=1&isAdv
anced=false#eid (last visited Jan. 10, 2021); see also Fine,
Dictionary.com, https: //www.dictionary.com/browse/fine (last
visited Dec. 7, 2021).33 And, usually the offense is defined by
the government and the sum exacted as a penalty is fixed by the

government.

 

13 The Supreme Court of the United States has held that “the word
fine [is] understood to mean a payment to a sovereign as
punishment for some offense.” United States v. Bajakajian, 524
U.S. 321, 327 (1998); see also Browning-Ferris Inds. of Vermont,
Inc. v. Kelso Disposal, Inc., 492 U.S. 257, 259 (1989); Oregon
v. Ramos, 340 P.3d 703, 707 (Or. App. 2014).

 

 

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Thus, the question becomes whether, giving the statutory
text (“for any . . . similar penalty”) its usual meaning, the
payment to Oregon under the split recovery statute resembles or
bears a significant relationship to a penalty for an offense.*
The term “an offense,” when used in connection with “for the
violation of” most naturally is understood to mean to refer to
‘an infraction of law”, Offense, Merriam-Webster,
https: //www.merriam-webster.com/dictionary/offense (last visited
Jan. 13, 2021), or a “transgression of law,” Offense,
Dictionary.com, https://www.dictionary.com/browse/offense (last
visited Jan. 13, 2021).15 The answer seems to be that the payment
to Oregon does not resemble a penalty for an offense because
there is no defined offense for which the payment was required
to be paid on account of the violation of some proscribed

conduct.

 

144 In response to the request for briefing on the plain meaning
of the statutory text (ECF No. 37), Altria urged consideration
of the meaning as reflected in dictionaries in effect in 1951
(Black’s Law Dictionary) and 1961 (Webster’s Third International
Dictionary). Those authorities do not materially differ from the
sources cited above. Nor do the sources cited by the United
States: Black’s Law Dictionary (4th ed. 1968) and Webster’s
International Dictionary (3rd ed. 1968).

 

 

15 Of course, the word “offense” standing alone can mean breach
of duty or moral code. See Offense, Merriam-Webster; Offense,
Dictionary.com. But, that does not seem to fit the text here,
which uses the article “an” to define something specific that if
violated gives rise to a fine or something resembling a fine.

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But, candor demands that conclusion respecting the
statutory text is not beyond dispute. Therefore, the analysis

must continue by looking at other aids to interpretation.

(b) Relevant Regulations, Stipulations, and Legislative
History

The Treasury regulations that guide the application of
Section 162(f) define “fine or similar penalty” as detailed in
Section E in the Background section. Further, in the JOINT
STATEMENT OF UNDISPUTED FACTS, Altria states that the term
“similar penalty” as used in Section 162(f) “was intended to

cover civil penalties that serve the same purpose as criminal

 

fines.” Ex. JX-1 at 12, ECF No. 24-1. As explained by the Senate
Finance Committee:

In approving the provisions dealing with fines and
Similar penalties in 1969 [when §162(f) was
enacted], it was the intention of the committee to
disallow deductions for payments of sanctions which
are imposed under civil statutes but which in
general terms serve the same purpose as a_ fine
exacted under a criminal statute.

 

 

S. Rep. No. 92-437 (1971), reprinted in 1971 U.S.C.C.A.N. 1918,

1980 (emphasis added); see, e¢.g., True v. United States, 894

 

F.2d 1197, 1204 (10th Cir. 1990) (“[SJection 162(f£) encompasses

fines and penalties exacted to sanction or punish conduct which

some well-defined state policy seeks to proscribe.”); Hawronsky
v. Comm’r, 105 T.Cc. 94, 98 (1995) (“Section 162(£) applies to

criminal fines and any similar retributive civil penalty

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intended to sanction prohibited conduct.”) (emphasis added);

 

Middle Atlantic Distribs., Ine. v. Comm’r, 72 T.C. 1136, 1143

 

(1979) (*[S]ection 162(f£) was intended to include civil

penalties which in general terms serve the same purpose as a

 

fine exacted under a criminal statute.”) (emphasis added). These

 

authorities and the regulation teach that the “similar penalty”
referred to in Section 162(f) is something that is intended to
sanction conduct that is prohibited by criminal statute.

The regulation and the foregoing authorities teach the need
to determine why the payment to Oregon was made. So, in many
respects, the interpretation of “for . . . a similar penalty”
overlaps with the determination whether the payment to a
government was “for the violation of any law.” So, the analysis
turns next to that task.

3. For the Violation of Any Law

The first word in the phrase “for the violation of any law”
(the word “for”) gives the need to know the reason why the
payment of the similar penalty was made to “a government.”
However, the text has no definition in the statute. So, again we
turn to the ordinary meaning of the word “for” which is a
function word to indicate purpose, or it can be a conjunction
meaning “because.” For, Merriam-Webster, https://www.merriam-

webster.com/dictionary/for (last visited Jan. 10, 2021). “For”

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also is defined to mean “with the object or purpose of”
something. For, Dictionary.com, https://www.dictionary.com/
browse/for (last visited Jan. 10, 2021).

The stated purpose appearing in Section 162(f) is requital
of a violation of law. But the phrase cannot be divorced from
the antecedent phrase “paid to a government” because to be
disallowed the payment must be paid to a government on account
of the statutorily specified reason (“the violation of any
law”). Thus, it is necessary to characterize the reason for the

payment to the government.

(a) Characterization and the Origin of the Liability
Giving Rise to the Payment Sought to be Deducted

In this instance, that calls for the identification of the
origin of the liability giving rise to the payment at issue.

That is because “(t]he characterization of a payment for

 

purposes of § 162(f) turns on the origin of the liability giving

 

rise to it.” See Bailey v. Comm’r, 756 F.2d 44, 47 (6th Cir.

 

1985) (emphasis added) (citing Middle Atlantic Distribs., 72

 

T.C. at 1145); Uhlenbrook v. Comm’r, 67 T.C. 818, 845 (1977). In

 

this case, the task is to determine whether the origin of the
liability giving rise to the payment to “a government” (here
Oregon) was: (a) the punitive damage award made, and reflected
in, the Williams v. Philip Morris Inc. verdict; or (b) Oregon’s

split recovery statute. See, e.g., True, 894 F.2d at 1197

 

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(reviewing a civil penalty that was assessed pursuant to the
Federal Water Pollution Control Act (“FWPCA”) and imposed due to
an oil leak); Bailey, 756 F.2d at 44 (reviewing a $1,036,000
payment that arose out of a judgment brought by the government
against the plaintiff for violations of the Federal Trade

Commission Act (“FTCA”)); Talley Inds. Inc. v. Comm’r, 116 F.3d

 

387, 387 (9th Cir. 1997) (assessing whether a portion of the
settlement pursuant to the False Claims Act was deductible); S.

Pac. Transp. Co. v. Comm’r, 75 T.C. 497 (1980) (determining

 

whether the penalties paid by the petitioner due to violations
of the Safety Appliance Act and the Twenty-Eight Hour Act are
deductible under Section 162(a)).

Altria contends that the Oregon split recovery statute
serves as the origin of the liability for payment to a
government, whereas the United States argues that the origin of
the liability for the payment made to a government was the
punitive damage award itself. Assessment of this issue is
informed by Oregon law respecting the award of punitive damages;
the instructions on that topic that were given to the jury in

Williams v. Philip Morris Inc. and Oregon’s split recovery

 

statute. See Ex. 1, ECF No. 35-1.

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Under Oregon law, Or. Rev. Stat. § 31.730,16 punitive
damages must be “proven by clear and convincing evidence.
Punitive damages cannot be imposed unless the party against whom

punitive damages are sought has acted with malice or has shown a

 

reckless and outrageous indifference to a highly unreasonable
risk of harm and has acted with a conscious indifference to the
health, safety and welfare of others.” Or. Rev. Stat. § 31.730
(emphasis added). See generally Or. U.C.J.I. § 75.02 (model jury
instructions for punitive damages). The jury instructions in

Williams v. Philip Morris Inc. are firmly rooted in the statute,

 

and they clearly reflect these statutory requirements. But,
consistent with the statute, the punitive damage instructions do
not themselves mention the conduct for which punitive damages
are sought.

In sum, Oregon’s substantive law respecting when punitive
damages can be awarded focus on state of mind (i.e., with
malice, reckless and outrageous indifference, and conscious
indifference). If state of mind is shown in tandem with the
charged conduct, the jury can, but need not, award punitive
damages. Also, it is significant that the Oregon punitive damage
statutes do not themselves prohibit or proscribe specific
conduct or define conduct that itself is an offense. So, in a

very real sense, the resulting punitive damages award is not

 

16 See BACKGROUND supra Section G, 13-15.
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much at all like a fine because a fine is levied by virtue of
specified punishable conduct, not because of the state of mind
that accompanies the conduct. In like fashion, because punitive
damages are animated by state of mind, not for committing
proscribed conduct, the award is not “for the violation of any
law.”

In other words, the conduct (violating a law) is necessary
for both a fine and an award of punitive damages, but punitive
damages cannot be imposed unless the statutorily defined state
of mind accompanies the conduct, whereas a fine is imposed
because of proscribed conduct even in the absence of such a
state of mind. And, while the purpose of the punitive damage
award is to impose a penalty for, and to deter, certain conduct,
the purpose is accomplished not by creating an offense, but by
punishing conduct otherwise punishable by the general tort law
when (and only when) that conduct is accompanied by the specific
states of mind that are identified in Oregon’s substantive law.

With that in mind, it cannot be said that an award of
punitive damages is “a similar penalty” that is imposed because
a particular offense has been committed. And, that is so
notwithstanding that such awards are intended to have punitive
and deterrent effects.

Moreover, neither Oregon’s substantive punitive damages

statute nor the instructions based on it mention Oregon’s split

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recovery statute. Nor, do they ask the jury to contemplate, or
to decide, how, or even if, any award of punitive damages will
be allocated. And, although Oregon’s substantive punitive damage
statute permits punitive damage awards, it imposes no obligation
on the defendant to provide payments to Oregon (a government) .
Therefore, without the split recovery statute, the punitive

damage award in Williams v. Philip Morris Inc. would have gone

 

entirely to the Williams Estate. That did not happen, however,
because the split recovery statute intervened, made Oregon a
judgment creditor of part of the punitive damage award, and
directed payment of that part of the punitive damages to Oregon,
specifically to be used for the victim’s compensation fund.
Accordingly, the Oregon split recovery statute serves as _ the
origin of Philip Morris’s liability to make payment of a part of
the punitive damages to the government, or in other words, the
‘origin of the liability” for the payment made to a government.
Bailey, 756 F.2d at 47.

The Oregon Supreme Court recognized as much in Williams v.
RJ Reynolds Tobacco Co., finding that Oregon’s “interest in the

punitive damages award arises out of a statute that is

 

indifferent to the factual basis of the underlying litigation.

The State’s entitlement to the statutory share is not, even

 

indirectly, related to or dependent on the tobacco-related

 

conduct . . .” 271 P.3d at 112 (emphasis added).

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The interpretation of a state statute by the highest court
of a state is binding on federal courts because “[nJeither [the
Supreme Court of the United States] nor any other federal
tribunal has any authority to place a construction on a state
statute different from the one rendered by the highest court of

the State.” Johnson v. Frankill, 520 U.S. 911, 916-17 (1977)

 

(citations omitted). So, in this case, the Oregon law is that
“[t]he State’s entitlement to the statutory share is not, even
indirectly, related to or dependent on [Philip Morris’] tobacco-

related conduct. . . .” Williams v. RJ Reynolds Tobacco Co., 271

 

P.3d at 112. That is because “the state’s interest in the
punitive damages award arises out of a statute [the split
recovery statute] that is indifferent to the factual basis of
the underlying litigation.” Id.

To be clear, the punitive damages awarded in Williams v.

Philip Morris Inc. were in fact a punishment, but the punitive

 

damages award did not act as the basis in law or fact for the
payment that Altria made to “a government.” Thus, the payment to
Oregon originates from the split recovery statute, not from the
jury’s verdict in favor of the Williams Estate.
(b) Section 162(£): Regulatory and Legislative History
Section 162(£)’s regulatory and legislative history, which
help to delineate the boundaries between deductible and

nondeductible payments, confirm that view. An IRS Proposed Rule

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entitled “Denial of Deduction for Certain Fines, Penalties, and
Other Amounts; Information with Respect to Certain Fines,
Penalties, and Other Amounts” provides useful background on
Section 162(f)'s evolution:

Prior law under section 162(f) was enacted in 1969.
Public Law 91-172, 83 Stat. 487 (1969). Unless
certain exceptions applied, prior law under section
162(f£) disallowed an ordinary and necessary
deduction, under section 162(a), for any fine or
similar penalty paid to a government for _ the
violation of a law. This provision codified existing
case law that denied an ordinary and necessary
business expense deduction for fines or similar
penalties because “allowance of the deduction would
frustrate sharply defined national or State policies
proscribing the particular types of conduct
evidenced by some governmental declaration thereof.”
See S. Rep. No. 552-91 at 273-274 (1969). On
February 20, 1975, the Treasury Department and the
IRS issued final regulations concerning prior law
under section 162{f) (TD 7345, 40 FR 7437) (1975
regulations). See §1.162-21. Amendments were
published on July 11, 1975 (T.D. 7366, 40 FR 29290).
Section 1.162-21(a) of the 1975 regulations describe
the term “paid to” a government. Section 1.162-
21(b) (1) of the 1975 regulations describes certain
amounts that constitute fines or similar penalties;
§1.162-21(b) (2) provides that compensatory damages
paid to a government do not constitute a fine or
penalty. Section 1.162-21(c) provides examples to
illustrate the application of the 1975 regulations.

 

 

 

 

 

85 Fed. Reg. 28524, 28525 (May 2020) (emphasis added).

The regulations pertaining to Section 162 were updated in
1975 and again in 2021. The 1975 regulations were applicable
when the 2012 version of Section 162 existed. The 1975 rule and
regulations mirror the historical language in the IRS Proposed
Rule:

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The category of fines and similar penalties includes
amounts paid. . . as a civil penalty imposed by
Federal, State, or local law . . ., amounts paid in
settlement of an actual or potential liability for a
fine or penalty, and amounts forfeited as collateral
posted in connection with a proceeding which could
result in a fine or penalty; but it excludes
expenses of defending against a prosecution or civil
suit and compensatory damages paid to a government.

40 Fed. Reg. 29290 (1975) (emphasis added).

Examples from the 1975 regulations illustrate that
penalties and fines paid to a state by a corporation are not
considered deductible. Those examples also indicate that
deductibility looks to whether the corporation violated a law
that carries a penalty or fine:

B Corp, owned and operated on the highways of State
X a truck weighing in excess of the amount permitted
under the law of State X. R Corp. was found to have
violated the law and was assessed a fine of $85
which it paid to State X. Section 162(f£) precludes R
Corp. from deducting the amount paid.

KKK

S Corp. was found to have violated a law of State Y
which prohibited the emission into the air of
particular matter in excess of a limit set forth in
a regulation promulgated under that law. The
Environmental Quality Hearing Board of State Y
assessed a fine of $500 against S. Corp. The fine
was payable to State Y, and S Corp. paid it. Section
162(£) precludes S Corp from deducting the $500
fine.

40 Fed. Reg. 7439 (1975).
In fact, the majority of the 1975 examples focus on the

need for there to have been violations of state statutes that

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themselves actually exact a fine or penalty. Id. More
importantly, none of the examples allude to a circumstance
involving the denial of deductibility of punitive damages
imposed by a court or jury. Nor do the examples offer guidance
respecting how to treat a punitive damage award to a non-
governmental party when part of the award is diverted to a non-
party government entity.

A 1980 IRS Revenue Ruling addressing Section 162(f) advised
that “the courts and the Service have recognized that payments

made in settlement of lawsuits are deductible if the acts which

 

gave rise to the litigation were performed in the ordinary

 

conduct of the taxpayer’s business.” Rev. Rul. 80-211, 19082,

 

C.B. 57, Ex. 1 at 2, ECF No. 33-1 (emphasis added). The revenue
ruling went on to hold that “amounts paid as punitive damages
incurred by the taxpayer in the ordinary conduct of its business
operations are deductible as ordinary and necessary business
expense under Section 162 of the Code.” Id. at 3. And, more
particularly, the ruling plainly stated that “amounts paid by a

corporation as punitive damages that arose as a result of a

 

civil lawsuit against the corporation for breach of contract and
fraud in connection with the ordinary conduct of its business

activities are deductible .. .” Id. (emphasis added).

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The recent alteration of Section 162(f) also informs the
analysis. Section 162(f£) was expanded by Section 13306(a) of the
Tax Cut Jobs Act (“TCJA”) of 2017. See Public Law 115-97, 131
Stat. 2054 (2017), which now states, in relevant part:

(£) Fines, penalties, and other amounts. --

(1) In general.--Except as provided in the
following paragraphs of this subsection, no
deduction otherwise allowable shall be allowed
under this chapter for any amount paid or
incurred (whether by suit, agreement, or
otherwise) to, or at the direction of, a
government or governmental entity in relation to
the violation of any law or the investigation or
inquiry by such government or entity into the
potential violation of any law.

kK*k*
However, Section (f) (1) was also limited by Section (f) (3) which
provides:

(3) Exception for amounts paid or incurred as a
result of certain court orders. Paragraph (1)

shall not apply to any amount paid or incurred
by reason of any order of a court in a suit in

which no government or governmental entity is a

party .

26 U.S.C. § 162(f) (2021) (emphasis added); see also TCJA, Pub.
L. No. 115-97, 131 Stat. 2054, 2126 (2017).

Subsequent regulations explain that the 2017 amendment to
Section 162(f) encompasses all payments furnished to a

government or government entity:

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[Section 162(f) (1) provides that no deduction
otherwise allowable under chapter 1 of the Code

shall be allowed for any amount paid or incurred
(whether by suit, agreement, or otherwise) to, or at
the direction of, a government or governmental
entity in relation to the violation of any law or
the investigation or inquiry by such government or
governmental entity into the potential violation of
any law.

86 Fed. Reg. 4970, 4970-71 (2021). But the new regulations also
give guidance respecting the exception to the general
nondeductible rule that appears in Section 162(f) (3), saying
that:
Under section 162(f)(3), the general rule that
disallows a deduction does not apply to any amount
paid or incurred pursuant to an order in a suit in
which no government or governmental entity is a
party . . . the final regulations clarify that
section 162(f) (1) does not apply to any amount paid

or incurred by reason of any order or agreement ina
suit in which no government or governmental entity

is a party.
86 Fed. Reg. 4970, 4976 (2021), codified at Treas. Reg. §1.162 -
21(c); 26 U.S.C. § 162(f£) (3) (emphasis added).

The current text of Section 162(f) (and its implementing
regulations) confirm that the deduction is foreclosed only as to
amounts that are paid to the government or a government entity
when the government is a party to the litigation. Accordingly,
today, a payment to an individual, that a government later lays
claim to part of under a separate statute, cannot be considered
a fine or similar penalty paid to a government. The current

statute and regulations reflect specifically what is reasonably

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implied in the 2012 version: the “fine or similar penalty paid
to a government for violation of any law” refers to cases where
the government exacts the fine or similar penalty when it is a

party to the case.

(c) The Purpose of the Payment Required by the Split
Recovery Statute

Even if the 2012 version of Section 162(f) is not read in
that way, the payment made under the Oregon split recovery
statute cannot be considered a fine or similar penalty or as
payable for a violation of law because its purpose is to fund a
state-based victims compensation fund. And, whether the payment
is ultimately deductible depends on its purpose. In Talley Inds.
Inc., the Ninth Circuit relied on this test as established by

the Tax Court in S. Pac. Trans. Co. v. Comm’r, 75 T.C. 497

 

(1980):

(W]hether a civil penalty is deductible depends upon
purpose which penalty is to serve: if penalty is
imposed for purposes of enforcing law and as
punishment for violation thereof, it is not
deductible; if penalty is imposed to encourage
prompt compliance with requirement of the law, or as
remedial measure to compensate another party for
expenses incurred as result of violation, it is
deductible; and if penalty ultimately serves each of
these purposes, tax court must determine which
purpose it was designed to serve.

 

 

 

Talley Inds. Inc., 116 F.3d at 385 (quoting S. Pac. Trans.

 

Co., 75 T.C. at 652) (emphasis added) (internal quotations

omitted). Here, the purpose of the payment compelled by the

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split recovery statute is to fund a state-based crime victim
fund, not to enforce a law or to punish a violation of law.

To understand whether a law characterizes a payment as a
fine or similar penalty, the Court may also evaluate the
statutory intent.17 Here, the intent of the Oregon split recovery
statute is evident from its text.

The split recovery statute explains that the legislature
intends to provide funding to assist victims of crime, inter
alia, by requiring that a part of any punitive award in any case
in state court is to be paid to the State and, to that end, the
statute makes the State a judgment creditor upon entry of the
verdict. See Or. Rev. Stat. § 31.735(1). Oregon courts have held

that the intent and purpose of the statute is “to modify the way

 

in which those [punitive] damages are distributed,” rather than

 

to alter the jury’s award of punitive damages. DeMendoza v.

Huffman, 51 P.3d 1232, 1245 (Or. 2002) (emphasis added).1* And,

 

17 See Colt Indus., Inc. v. United States, 880 F.2d 1311 (Fed.

 

Cir. 1989) (reviewing the legislative history and intent behind
the Clean Water Act and Clean Air Act to assess whether a
violation resulting in penalties was deductible); S. Pac.

Transp. Co., 75 T.C. at 583 (evaluating the legislative history
to determine that “the legislation which was being considered
did not deal directly with the deductibility of the expenses
associated with timber contracts as ‘ordinary and necessary
expenses’ under section 162.").

18 It is not necessary that Oregon must be a party to the lawsuit
“to assert its right as a judgment creditor” under the split
recovery statute to receive a “portion of the . . . punitive
damages award.” Engquist v. Oregon Dep’t of Agric., 478 F.3d 985

 

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the parties stipulate that the split recovery statute “is not
punitive. Rather, its purpose is to redirect a portion of each
punitive damage award from the plaintiff to the Oregon DOJ’s
Criminal Injuries Compensation Account.” JOINT STATEMENT OF
UNDISPUTED FACTS 4 24, ECF No. 24. For those reasons, the
discernable statutory intent approach to statutory analysis
supports the conclusion that Section 162(f) does not bar the
deduction claimed by Altria.

(d) Economic Reality

Also, “[w]hen mulling transactions between private parties,
courts that are required to make tax characterizations typically
look to substance-that is, the economic reality of the
particular transaction, objectively viewed, rather than the form

chosen by the parties.” Fresenius Med. Care Holdings, Inc. v.

 

United States, 763 F.3d 64, 70 (lst Cir. 2014). Of course, in
this case, the form was not chosen by the parties. Rather, it is
dictated by a state statute. Nonetheless, an examination of the
economic reality is a useful way to assess the validity of the
other analytical approaches discussed above. Here, the economic
reality is that the split recovery statute does not give the

State:

 

(9th Cir. 2007), cert. 552 U.S. 1136, aff'd 553 U.S. 591 on
remand 2009 WL 497996, as amended.

 

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the right to execute on the verdict alone to collect
its share of the punitive damages awarded by the
jury; rather, it gives the State, at most, an
economic expectancy of 60 percent of whatever
portion of punitive damages, if any, eventually is
memorialized in a judgment.

Patton v. Target Corp., 242 P.3d 611, 617 (Or. 2010). That

 

reality supports the view that the redirected payment required
by the split recovery statute is not a fine or similar penalty
because fines and similar penalties are not contingent.

Contrary to the concern expressed by the United States,
this result does not undermine the public policy doctrine
codified by Section 162(£)19 because allowing the deduction would
not frustrate the public policy of Oregon for the reason that
the State still recovered a portion of the punitive damages and
Altria still had to pay the Williams Estate its part of the

award. Hackworth v. Comm’r, 155 F. App’x 627, 630 (4th Cir.

 

2005). Here, the public policy and laws of the State of Oregon
have been fulfilled because allowing this deduction does not
“encourage” noncompliance with state laws and still enables the

full “sting of the penalty” as prescribed by the state

 

19 See Colt Indus., Inc. v. United States, 11 Cl. Ct. 140, 143
(1986) (noting that at the time Section 162(f) was enacted, “a
general rule had evolved in administration of the income tax
that deductions which frustrate sharply defined national or
state policies that prescribe particular types of conduct would
be disallowed [because] the allowance of deductions for fines
and similar penalties would take the sting out of penalties
prescribed by law.”).

 

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legislature. Tank Truck Rentals, Inc. v. Comm’r, 356 U.S. 30

 

(1958).
4. The Result

In sum, Oregon’s split recovery statute acts as a default
payment scheme to allow the State to help finance a fund to be
used to compensate victims of crime. The split recovery statute,
in and of itself, does not act to punish the party against whom
the punitive damage award was made. It simply directs that a
part of the award goes to help fund a state program. In so
doing, it redirects to the State payment to part of the award
made in the case. For the reasons set forth above, a payment
under the split recovery statute is not “for any fine or similar

penalty paid to a government for this violation of any law.”

5. The Authorities Relied on by the United States

The cases on which the United States principally relies all
involve payments to the government as a result of litigation,
settlement, or the like by the government against the taxpayer.
See, e.g., True, 895 F.3d at 1197 (government exacted a civil
penalty on a corporation for violating the Federal Water

Pollution Control Act); Nacchio v. United States, 2015-5114,

 

2015-5115 (Fed. Cir. Jun. 10, 2016) (government action against
taxpayer for insider trading resulting in a non-deductible
forfeiture); Bailey, 756 F.2d at 45 (government action to
recover civil penalties for taxpayer’s disobedience of consent

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order to cease and desist from operating a deceptive business

under the FTCA); S. Pac. Transp. Co., 75 T.C. at 643 (government

 

action against railways for violation of the Safety Appliance
Act and Twenty-Eight Hour Act resulting in penalties and fines

that were non-deductible); Colt Indus., Inc., 880 F.2d at 1313

 

(government action against taxpayer resulting in civil penalties
pursuant to the Clean Water Act and Clean Air Act); Talley Inds.
Inc., 116 F.3d at 383 (government action against defense
contractor resulting in a settlement paid to the government for
false and fraudulent statements made to the government);
Hackworth, 155 F. App’x at 627 (government action against
taxpayers for illegal gambling resulting in ae forfeiture
settlement). The United States has supplied no authority holding
that a payment made to the government because of a state revenue
generating statute after a judgment in a private civil suit
warrants consideration as a fine or similar penalty within the
meaning of Section 162(f£).
B. Other Arguments

It is not necessary to assess the alternative arguments
suggested by the parties. Specifically, the Court does not
address whether Altria’s payment of punitive damages would still
be deductible if the Court looked beyond the split recovery

statute nor disparate treatment of federal tax law applied to

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the states. PL. ALTRIA GROUP, INC.’S TRIAL BR. 19, 20, ECF No.
25.
CONCLUSION

Altria has proved that it is entitled to a refund in the
amount of $9,274,072 with regard to the overstatements of
income, unclaimed credits, and overstatements of tax described
in the Complaint for the 2012 tax year, and such further amounts
as may be calculated due to corresponding correlative
adjustments or such greater amount as is legally refundable,
plus statutory interest as allowed by law.

It is so ORDERED.

/s/ Kel

Robert E. Payne
Senior United States District Judge

 

Richmond, vexing
Date: January 7, 2022

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